Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 1 of 24




              Exhibit ‘A’
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 2 of 24




                               FOR PUBLICATION

              UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

         UNITED STATES OF AMERICA,                      No. 22-50144

                           Plaintiff-Appellee,        D.C. No. 2:21-cr-
                                                        00491-SB-1
             v.

         JEFFREY FORTENBERRY,                             OPINION

                           Defendant-Appellant.

                    Appeal from the United States District Court
                        for the Central District of California
                  Stanley Blumenfeld, Jr., District Judge, Presiding

                        Argued and Submitted July 11, 2023
                               Pasadena, California

                              Filed December 26, 2023

             Before: Gabriel P. Sanchez and Salvador Mendoza, Jr.,
               Circuit Judges, and James Donato, * District Judge.

                             Opinion by Judge Donato


         *
          The Honorable James Donato, United States District Judge for the
         Northern District of California, sitting by designation.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 3 of 24
         2                      USA V. FORTENBERRY


                                   SUMMARY **


                                   Criminal Law

             The panel reversed former congressman Jeffrey
         Fortenberry’s conviction for making false statements, in
         violation of 18 U.S.C. § 1001(a)(2), without prejudice to
         retrial in a proper venue, and remanded.
             Federal agents interviewed Fortenberry at his home in
         Lincoln, Nebraska, and his lawyer’s office in Washington,
         D.C., in connection with an investigation into illegal
         campaign contributions made by a foreign national through
         conduit donors. At the time, Fortenberry was a member of
         the House of Representatives from Nebraska. The federal
         agents were based in Los Angeles, California, where the
         illegal contribution activity was said to have occurred. At
         the end of the investigation, Fortenberry was charged with
         making false statements during the interviews in violation of
         Section 1001, but not with a violation of the federal election
         laws. He was tried and convicted by a federal jury in Los
         Angeles.
             Fortenberry contended that the district court incorrectly
         denied his motion to dismiss the case because venue was
         improper in the Central District of California. The district
         court determined that a Section 1001 violation occurs not
         only where a false statement is made but also where it has an
         effect on a federal investigation. The panel concluded that
         an effects-based test for venue of a Section 1001 offense has
         no support in the Constitution, the text of the statute, or

         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 4 of 24
                            USA V. FORTENBERRY                   3


         historical practice. The panel therefore reversed
         Fortenberry’s conviction without prejudice to retrial in a
         proper venue. The panel did not reach Fortenberry’s
         contention of instructional error.



                                COUNSEL

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Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 5 of 24
         4                    USA V. FORTENBERRY


                                  OPINION

         DONATO, District Judge:

             Federal agents interviewed Jeffrey Fortenberry at his
         home in Lincoln, Nebraska, and his lawyer’s office in
         Washington, D.C., in connection with an investigation into
         illegal campaign contributions made by a foreign national
         through conduit donors. At the time, Fortenberry was a
         member of the House of Representatives elected to multiple
         terms by voters in Nebraska’s 1st congressional district. The
         federal agents were based in Los Angeles, California, where
         the illegal contribution activity was said to have occurred.
         At the end of the investigation, Fortenberry was charged
         with making false statements during the interviews in
         violation of 18 U.S.C. § 1001, but not with a violation of the
         federal election laws. He was tried and convicted by a
         federal jury in Los Angeles.
             Fortenberry appeals his conviction on two grounds. He
         contends that the district court incorrectly denied his motion
         to dismiss the case because venue was improper in the
         Central District of California. He also appeals a declined
         jury instruction as error.
             The Constitution plainly requires that a criminal
         defendant be tried in the place where the criminal conduct
         occurred. The district court determined, and the government
         urges on appeal, that a Section 1001 violation occurs not
         only where a false statement is made but also where it has an
         effect on a federal investigation. We conclude that an
         effects-based test for venue of a Section 1001 offense has no
         support in the Constitution, the text of the statute, or
         historical practice. Consequently, we reverse Fortenberry’s
         conviction without prejudice to retrial in a proper venue.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 6 of 24
                                   USA V. FORTENBERRY                               5


                                   BACKGROUND
             Former congressman Jeffrey Fortenberry is a Nebraskan
         who spent decades in elective office. A resident of Lincoln,
         Nebraska, he served on the Lincoln City Council. Beginning
         in 2004, he was elected to several terms in Congress,
         representing Nebraska’s 1st district.
             In October 2015, the Federal Bureau of Investigation
         (FBI), in conjunction with other federal agencies, began
         investigating a foreign national suspected of improperly
         financing several U.S. political campaigns. 1 This multi-
         agency investigation was run by the FBI’s Los Angeles field
         office, located in the Central District of California.
             Over the course of the investigation, the FBI came to
         believe that the foreign national had made conduit
         contributions to Fortenberry’s campaign, namely at a
         fundraiser held for Fortenberry in Los Angeles in 2016. In
         June 2018, a cooperating witness placed a telephone call to
         Fortenberry with an FBI agent secretly listening in. The
         witness told Fortenberry that the foreign national was
         probably the source of $30,000 of donations that Fortenberry
         had received at the fundraiser.
             About nine months later, in March 2019, two federal
         agents from Los Angeles traveled to Lincoln, Nebraska, and
         interviewed Fortenberry in his home there. During the
         interview, Fortenberry, who did not have a lawyer present,
         denied awareness of any foreign or conduit contributions to
         his campaign. After the interview, Fortenberry retained an
         attorney who contacted the FBI and was referred to the U.S.

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           Federal election law prohibits foreign nationals from contributing
         directly or indirectly to a campaign for federal, state, or local office. See
         52 U.S.C. § 30121.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 7 of 24
         6                    USA V. FORTENBERRY


         Attorney’s Office for the Central District of California. The
         attorney set up a second meeting between Fortenberry and
         federal investigators that occurred in July 2019 in
         Washington, D.C. During the meeting, Fortenberry said
         again that he was not aware of any illegal contributions to
         his campaign.
             On October 19, 2021, Fortenberry was indicted in the
         Central District of California on one count of scheming to
         falsify and conceal material facts in violation of 18 U.S.C.
         §1001(a)(1), and two counts of making false statements in
         violation of 18 U.S.C. § 1001(a)(2). Fortenberry moved to
         dismiss the case for improper venue; the district court denied
         his motion. The case went to a jury trial, and Fortenberry
         was found guilty on all counts. The jury found that
         Fortenberry had made false statements in the March 2019
         interview in Nebraska and the July 2019 interview in
         Washington, D.C. The district court sentenced Fortenberry
         to two years of probation, 320 hours of community service,
         and a $25,000 fine. Fortenberry resigned his seat in
         Congress.
                                DISCUSSION
         I. Venue, Vicinage, and Section 1001 Essential Conduct
             Fortenberry’s main contention on appeal is that venue
         was improper in the Central District of California and the
         district court should have granted his motion to dismiss on
         that ground. We review de novo the legal basis of the district
         court’s venue decision. See United States v. Hui Hsiung, 778
         F.3d 738, 745 (9th Cir. 2015); United States v. Corona, 34
         F.3d 876, 878 (9th Cir. 1994).
            “Questions of venue in criminal cases . . . are not merely
         matters of formal legal procedure.” United States v.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 8 of 24
                               USA V. FORTENBERRY                        7


         Johnson, 323 U.S. 273, 276 (1944). They present policy
         concerns deeply rooted in the Constitution. “Aware of the
         unfairness and hardship to which trial in an environment
         alien to the accused exposes him,” id. at 275, the Framers
         drafted the Venue Clause, which “mandates that the ‘Trial of
         all Crimes . . . shall be held in the State where the . . . Crimes
         shall have been committed.’” Smith v. United States, 599
         U.S. 236, 242–43 (2023) (quoting U.S. Const. art. III, § 2,
         cl. 3). This command is reinforced by the Vicinage Clause
         of the Sixth Amendment, which “guarantees ‘the right
         to . . . an impartial jury of the State and district wherein the
         crime shall have been committed.’” Id. at 244–45 (quoting
         U.S. Const. amend. VI).
             Congress did not expressly designate the venue of a
         Section 1001 offense, and so the “locus delicti,” the location
         of the crime, “must be determined from the nature of the
         crime alleged and the location of the act or acts constituting
         it.” United States v. Anderson, 328 U.S. 699, 703 (1946)
         (internal citations omitted); see also United States v.
         Rodriguez-Moreno, 526 U.S. 275, 279 (1999) (“[A] court
         must initially identify the conduct constituting the offense
         (the nature of the crime) and then discern the location of the
         commission of the criminal acts.”). “To determine the
         nature of the crime, we look to the essential conduct
         elements of the offense.” United States v. Lukashov, 694
         F.3d 1107, 1120 (9th Cir. 2012) (internal quotations and
         citation omitted).
             Section 1001 of Title 18 imposes criminal liability on
         “whoever, in any matter within the jurisdiction of the
         executive, legislative, or judicial branch of the Government
         of the United States, knowingly and willfully . . . (1) falsifies,
         conceals, or covers up by any trick, scheme, or device a
         material fact” or “(2) makes any materially false, fictitious,
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 9 of 24
         8                    USA V. FORTENBERRY


         or fraudulent statement or representation.” 18 U.S.C.
         § 1001(a). “A conviction under § 1001 requires the
         government to prove beyond a reasonable doubt that the
         defendant: 1) made a statement, 2) that was false, and 3)
         material, 4) with specific intent, 5) in a matter within the
         agency’s jurisdiction.” United States v. Selby, 557 F.3d 968,
         977 (9th Cir. 2009).
              The question of venue in this case is answered by
         determining which of these statutory elements is the
         essential conduct of a Section 1001 offense, and which is a
         “circumstance element” that is necessary for a conviction but
         not a factor in deciding the location of the offense for venue
         purposes. Rodriguez-Moreno, 526 U.S. at 280 n.4. To
         illustrate, in a money laundering case, trial was proper where
         the laundering alleged in the indictment had occurred, but
         not where the criminal activity generating the illicit currency
         (i.e., the unlawful distribution of cocaine) had taken place,
         because the relevant statutes “interdict[ed] only the financial
         transactions . . . [and] not the anterior criminal conduct that
         yielded the funds allegedly laundered.” United States v.
         Cabrales, 524 U.S. 1, 3–4, 7 (1998). In other words, “[t]he
         existence of criminally generated proceeds was a
         circumstance element of the offense but the proscribed
         conduct—defendant’s money laundering activity—occurred
         ‘“after the fact” of an offense begun and completed by
         others.’” Rodriguez-Moreno, 526 U.S. at 280 n.4 (quoting
         Cabrales, 524 U.S. at 7). In drawing this distinction between
         essential conduct elements and circumstance elements here,
         our reading of Section 1001 is guided, but not limited, by the
         principle that the verb or verbs used in a criminal statute have
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 10 of 24
                                 USA V. FORTENBERRY                           9


         “value as an interpretive tool” to “determine the nature of the
         substantive offense.” Id. at 280. 2
             The text of the statute plainly identifies the essential
         conduct of a Section 1001 offense to be the making of a false
         statement. As the Tenth Circuit has observed, Section
         1001(a)(2) “does not contain a venue clause, nor is there any
         language suggesting any ‘essential conduct element’ other
         than making a false statement.” United States v. Smith, 641
         F.3d 1200, 1207 (10th Cir. 2011) (quoting Rodriguez-
         Moreno, 526 U.S. at 280). It is the act of uttering a false
         statement that is the criminal behavior essential to liability
         under Section 1001.
              The district court, citing United States v. Salinas, 373
         F.3d 161, 166–67 (1st Cir. 2004), and United States v.
         Coplan, 703 F.3d 46, 79 (2d Cir. 2012), went a step further
         to hold that materiality was also an essential conduct
         element. It concluded that venue could properly include any
         “district in which the effects of the false statement [were]
         felt.” Salinas, 373 F.3d at 167. This was because
         materiality, in the district court’s view, necessarily depends
         on how a listener would perceive the utterance, wherever the
         listener might be located.
             The government urges the same analysis here. It argues
         that the district court was right to hold that materiality is an
         “essential conduct element” of Section 1001, and because
         conduct is “often defined by its effects,” there is “nothing
         anomalous about prosecuting a false statement based on the


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           Neither party has suggested that the venue analysis under Section
         1001(a)(2) differs from the analysis under Section 1001(a)(1), at least
         with respect to the facts presented in this case. For the purposes of
         resolving this appeal, the Section 1001(a)(2) analysis is dispositive.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 11 of 24
         10                  USA V. FORTENBERRY


         location of the government action that the statement could
         potentially influence.’”
             This argument misses the mark. It is certainly true that
         Congress did not intend to criminalize trivial falsehoods
         under Section 1001, which the materiality requirement
         addresses. Materiality is a key element of the statutory
         definition of the crime that prosecutors must prove, with all
         the other elements, to obtain a conviction. See Mathis v.
         United States, 579 U.S. 500, 504 (2016) (“‘Elements’ are the
         ‘constituent parts’ of a crime’s legal definition—the things
         the ‘prosecution must prove to sustain a conviction.’”)
         (quoting Black’s Law Dictionary 634 (10th ed. 2014)).
             But the inquiry that determines venue is different. It
         turns on the action by the defendant that is essential to the
         offense, and where that specific action took place.
         Materiality is not conduct because it does not require
         anything to actually happen. We have previously held that
         materiality requires only that a statement have the capacity
         to influence a federal agency. As we stated:

                [T]he materiality requirement of a § 1001
                violation is satisfied if the statement is
                capable of influencing or affecting a federal
                agency. The false statement need not have
                actually influenced the agency, and the
                agency need not rely on the information in
                fact for it to be material. In other words, the
                “test is the intrinsic capabilities of the false
                statement itself, rather than the possibility of
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 12 of 24
                              USA V. FORTENBERRY                    11


                the actual attainment of its end as measured
                by collateral circumstances.”

         United States v. Serv. Deli Inc., 151 F.3d 938, 941 (9th Cir.
         1998) (internal citations omitted) (emphasis in original).
             We have made a similar point in other Section 1001
         cases. See United States v. King, 735 F.3d 1098, 1108 (9th
         Cir. 2013) (“A misstatement need not actually influence the
         agency decision in order to be material; propensity to
         influence is enough.”); see also United States v. Green, 745
         F.2d 1205, 1208 (9th Cir. 1984) (“Under section 1001, the
         false statement need not be made directly to the government
         agency; it is only necessary that the statement relate to a
         matter in which a federal agency has power to act.”); United
         States v. King, 660 F.3d 1071, 1081 (9th Cir. 2011) (“A false
         statement need not be made to a federal agent to support a
         conviction under § 1001(a)(2).”). The upshot of our prior
         holdings is that the false statement offense is complete when
         the statement is made. It does not depend on subsequent
         events or circumstances, or whether the recipient of the false
         statement was in fact affected by it in any way.
             Consequently, materiality is not an essential conduct
         element of a Section 1001 violation. The Supreme Court’s
         holding in Rodriguez-Moreno does not compel a different
         result. There, the Court vacated on venue grounds a
         conviction under 18 U.S.C. § 924(c)(1) for using or carrying
         a firearm “during and in relation to any crime of violence.”
         The crime of violence in that case was a kidnapping, and the
         Third Circuit had determined that venue was proper only in
         the district where the defendant used or carried a firearm,
         and not in the districts where the kidnapping occurred.
         Rodriguez-Moreno, 526 U.S. at 278. The Supreme Court
         reversed. It concluded that using and carrying a firearm, as
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 13 of 24
         12                   USA V. FORTENBERRY


         well as the related crime of violence, i.e., the kidnapping,
         were both essential conduct elements of Section 924(c)(1).
         Id. at 280–81 (“Section 924(c)(1) criminalized a defendant’s
         use of a firearm ‘during and in relation to’ a crime of
         violence; in doing so, Congress proscribed both the use of
         the firearm and the commission of acts that constitute a
         violent crime.” (emphasis in original)).
             Section 1001 is different. It proscribes the act of making
         a materially false statement. Materiality is not separate
         conduct akin to kidnapping or another action by a criminal
         defendant, and so cannot play a role in determining the locus
         delicti for purposes of venue.
         II. Decisions of Other Circuits
              The government says there is a “wall” of circuit authority
         in its favor, to the effect that “the essential conduct
         prohibited by § 1001(a)(2) is the making of a materially
         false, fictitious, or fraudulent statement.” Coplan, 703 F.3d
         46, 79 (2d Cir. 2012) (emphasis added); see also United
         States v. Oceanpro Indus., Ltd., 674 F.3d 323, 329 (4th Cir.
         2012); United States v. Ringer, 300 F.3d 788, 791 (7th Cir.
         2002). These courts concluded that, because “the essential
         conduct constituting the offense inherently references the
         effects of that conduct,” Oceanpro, 674 F.3d at 329, venue
         is proper where the effects of the false statements may be
         felt, namely wherever the relevant investigation or official
         proceeding is located.
             This “wall” is less imposing than the government would
         have it because the Tenth and Eleventh Circuits have
         reached the same result we reach here. Smith, 641 F.3d at
         1207; United States v. John, 477 F. App’x. 570, 572 (11th
         Cir. 2012) (unpub.). It is also the case that the Supreme
         Court has left open the broader questions of whether and
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 14 of 24
                              USA V. FORTENBERRY                    13


         when an effects-based venue might be permissible. See
         Rodriguez-Moreno, 526 U.S. at 279 n.2 (“The government
         argues that venue also may permissibly be based upon the
         effects of a defendant’s conduct in a district other than the
         one in which the defendant performs the acts constituting the
         offense. . . . [W]e express no opinion as to whether the
         Government’s assertion is correct.”).
             The logic of the circuit cases cited by the government is
         questionable for all the reasons already discussed. The
         Second Circuit upheld venue in New York for false
         statements made in Tennessee because “[p]roving the
         materiality of [the defendant’s] false statements in
         Tennessee necessarily requires evidence that those
         statements were conveyed to or had an effect on the IRS
         investigators working in the Southern District of New
         York.” Coplan, 703 F.3d at 79 (citing Oceanpro, 674 F.3d
         at 329). Why that is “necessarily” so is left unsaid, other
         than a passing remark to the effect that it just makes sense.
         Id. Coplan is also in tension with United States v. Rodgers,
         466 U.S. 475 (1984), which held that a false statement to the
         FBI need not affect an existing investigation to run afoul of
         Section 1001. In addition, while the Second Circuit in
         Coplan recognized that a defendant’s liability under Section
         1001 depended on the “capacity of [his] statements to
         influence the decisionmaking body at issue,” 703 F.3d at 79,
         it nonetheless thought that proof of actual effect would be
         required. We have concluded otherwise in Service Deli, 151
         F.3d at 941, and similar cases.
             In Oceanpro¸ the Fourth Circuit analogized Section 1001
         to the Hobbs Act and obstruction-of-justice statutes to affirm
         a Section 1001 conviction in Maryland for false statements
         made in the District of Columbia. See Oceanpro, 674 F.3d
         at 329–30. The court stated that, “just as Congress defined
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 15 of 24
         14                   USA V. FORTENBERRY


         the effects of conduct in the Hobbs Act and 18 U.S.C.
         § 1503, it defined the effects in § 1001 to include the element
         of materiality,” and that “proving materiality necessarily
         requires evidence of the existence of the federal
         investigation in Maryland and the potential effects of [the
         defendant’s] statement on that investigation.” Id. at 329.
         The court determined that venue was proper because “the
         District of Maryland had a substantial connection to [the
         defendant’s] conduct and to the charges based on that
         conduct against him.” Id.
             This discussion is not persuasive. The analogy of
         Section 1001(a)(2) to the Hobbs Act or obstruction of justice
         is doubtful. For example, “in a prosecution under the Hobbs
         Act, venue is proper in any district where commerce is
         affected because the terms of the statute itself forbid
         affecting commerce in particular ways.” United States v.
         Bowens, 224 F.3d 302, 313 (4th Cir. 2000) (citing 18 U.S.C.
         § 1951(a) (punishing anyone who “in any way or degree
         obstructs, delays, or affects commerce” by robbery)). In a
         similar vein, the obstruction of justice statute expressly
         prohibits “endeavors to influence, obstruct, or impede, the
         due administration of justice,” 18 U.S.C. § 1503(a), and so
         venue might be proper in the jurisdiction where the affected
         judicial proceeding is being held, see United States v. Smith,
         22 F.4th 1236, 1243–44 (11th Cir. 2022) (discussing United
         States v. Barham, 666 F.2d 521 (11th Cir. 1982)).
             To be sure, Section 1001, the Hobbs Act, and the
         obstruction statute contemplate that the proscribed conduct
         might have an effect on something else (a matter within the
         jurisdiction of the executive, legislative, or judicial
         branches; interstate commerce; the administration of
         justice). But that is where the similarities end. The Hobbs
         Act expressly forbids conduct affecting commerce in
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 16 of 24
                              USA V. FORTENBERRY                    15


         particular ways, and the obstruction statute conduct affecting
         court cases. Section 1001, by contrast, proscribes making
         materially false statements—not actually affecting or
         interfering with a federal agency’s investigation through the
         making of the statements.
             The likelihood of highly problematic venue outcomes is
         another reason to decline the government’s effects test.
         Consider the facts here. An investigation was staffed by
         agents in California. In connection with the investigation,
         the agents traveled to Nebraska and Washington, D.C. to
         interview Fortenberry, who made false statements in those
         locations. The only connection between Fortenberry and the
         Central District of California, where he was tried and
         convicted, was that the agents worked in a Los Angeles
         office. What if the investigation had been conducted by
         federal agents in Los Angeles and Oklahoma? What if the
         government had transferred the investigation to agents in
         Massachusetts? What if an investigating agent simply
         moved from Los Angeles to Hawaii for personal reasons but
         maintained a lead role in prosecuting the case? What if the
         government chose to base every single Section 1001
         investigation in Washington, D.C., where federal agencies
         are headquartered? The government’s effect test would say
         that venue is proper in any one of those locations,
         irrespective of where the false statement was actually made.
         This would be an odd and troubling result for an offense that
         does not require an actual effect on the investigators.
             This outlandish outcome cannot be squared with the
         Constitution. The Venue and Vicinage Clauses command
         that a trial be held where the crime was committed. This is
         not necessarily a boon to a defendant. Even though the
         “most convenient trial venue for a defendant would
         presumably be where he lives, the Venue Clause is keyed to
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 17 of 24
         16                   USA V. FORTENBERRY


         the location of the alleged ‘Crimes,’” and “does not allow
         variation for the convenience of the accused.” Smith, 599
         U.S. at 243 (cleaned up). But the clauses equally “preclude
         trial” in a locale where the crime did not occur. Id. at 244
         (emphasis in original).
             The Venue and Vicinage Clauses may not be disregarded
         simply because it suits the convenience of federal
         prosecutors.        The government emphasizes that
         (1) Fortenberry’s fundraiser where the conduit contributions
         were made was held in Los Angeles, and (2) he knew when
         his counsel set up the meeting in Washington, D.C. that the
         investigation was being conducted by the U.S. Attorney’s
         Office in the Central District of California. But the location
         of investigators in the Central District, or the presence there
         of witnesses to the campaign contribution events, do not
         speak to the locus delicti of Fortenberry’s Section 1001
         offenses.
             So too of the fact that Fortenberry was aware, at the time
         of his interview in Washington, D.C., that his statements
         would be taken back to and analyzed by the U.S. Attorney’s
         Office in the Central District of California. We are not at
         liberty to create a new temporal element for Section 1001—
         tied to defendant’s awareness at the time the statement at
         issue was made—that is not evident in the plain text of the
         statute. Moreover, a complex case may involve investigators
         spread across several jurisdictions. To take again the Los
         Angeles and Oklahoma scenario, adding a temporal element
         would still have permitted Fortenberry to be tried in
         Oklahoma simply because an investigator based there
         happened to be sitting in Fortenberry’s living room in
         Nebraska when he spoke to the agents.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 18 of 24
                                 USA V. FORTENBERRY                          17


         III. Continuing Offenses
            As an alternative approach, the government suggests that
         venue was proper in the Central District of California under
         18 U.S.C. § 3237(a), because communications can be
         prosecuted as “continuing offenses” that “span space and
         time.” We disagree. 3
             To start, the government’s reliance on Section 3237
         simply begs the question of venue under Section 1001.
         Section 3237 permits the prosecution of “any offense against
         the United States begun in one district and completed in
         another, or committed in more than one district . . . in any
         district in which such offense was begun, continued, or
         completed.” 18 U.S.C. § 3237(a). This text says nothing
         about where a Section 1001 defendant like Fortenberry
         began or completed the offense. It merely invites the next
         step of determining the essential conduct of a Section 1001
         crime. As discussed, this analysis does not come out in favor
         of the effects test the government advocates here.
               The government’s heavy reliance on our decision in
         United States v. Angotti, 105 F.3d 539 (9th Cir. 1997), is also
         misplaced. The district court did not cite Angotti, but it is a
         centerpiece of the government’s case on appeal. Angotti
         involved an appeal, on venue grounds, of a conviction under
         18 U.S.C. § 1014, “which punishes anyone who ‘knowingly
         makes any false statement . . . for the purpose of influencing
         . . . the action’ of a federally insured institution.” Id. at 542.
         The defendant made false statements to a financial
         institution through an agent in the Northern District of
         California, but was tried and convicted in the Central District

         3
          The district court did not reach the question whether venue was proper
         under the government’s continuing offense theory.
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 19 of 24
         18                    USA V. FORTENBERRY


         of California where the institution was located. Id. at 541.
         The panel concluded that a false statement under Section
         1014 was a continuing offense because “the act of making”
         the false statement continued until the statements were
         received by the person whom they were ultimately intended
         to influence. Id. at 543.
             Angotti is readily distinguishable from the circumstances
         here. Section 1014 expressly contemplates the effect of
         influencing the action of a financial institution. No such
         language is used in Section 1001. To determine whether a
         statement is misleading in a material way, we probe the
         “intrinsic capabilities of the false statement itself, rather than
         the possibility of the actual attainment of its end as measured
         by collateral circumstances.” Serv. Deli Inc., 151 F.3d at
         941 (citing United States v. Salinas-Ceron, 731 F.2d 1375,
         1377 (9th Cir. 1984), vacated on other grounds by 755 F.2d
         726 (9th Cir. 1985)). Further, we have distinguished Angotti
         for this reason in other criminal venue cases involving
         conceptually similar statutes. See, e.g., United States v.
         Marsh, 144 F.3d 1229, 1242 (9th Cir. 1998) (“The problem
         with Angotti as analogy is that the crime of endeavoring to
         impede the IRS is complete when the endeavor is made.”).
             As the government points out, there certainly are crimes
         that may be prosecuted where their effects are felt. See, e.g.,
         Palliser v. United States, 136 U.S. 257, 265–66 (1890) (“It
         is universally admitted that, where a shot fired in one
         jurisdiction strikes a person in another jurisdiction, the
         offender may be tried where the shot takes effect, and the
         only doubt is whether he can be tried where the shot is
         fired.”); 18 U.S.C. § 3236 (“In all cases of murder or
         manslaughter, the offense shall be deemed to have been
         committed at the place where the injury was inflicted, or the
         poison administered or other means employed which caused
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 20 of 24
                              USA V. FORTENBERRY                    19


         the death, without regard to the place where the death
         occurs.”). But those situations are markedly different from
         a Section 1001 offense, for which no statute nor universal
         recognition permits a prosecution where the effects of a
         statement are felt, and serve only to illustrate that Congress
         is well equipped to identify the circumstances in which an
         effects-based venue rule is appropriate. Congress did not
         deem Section 1001 to be such a situation.
         IV. Historical Practices and Traditions
             Our holding today is in line with our national historical
         practices and traditions with respect to venue. See United
         States v. Gaudin, 515 U.S. 506, 515 (1995) (“We do not
         doubt that historical practice is relevant to what the
         Constitution means by such concepts as trial by jury.”).
             The Supreme Court recently examined the history of the
         Venue and Vicinage Clauses, and that discussion is relevant
         here. As the Court stated:

                [T]he relevant starting point . . . is the
                common-law “vicinage” right, which
                presumptively entitled defendants to a jury of
                the “neighbourhood” where the crime was
                allegedly committed. 4 W. Blackstone,
                Commentaries on the Laws of England 344
                (1769) (Blackstone). As a practical matter,
                this right imposed a venue requirement: trials
                needed to be held at the location where “the
                matter of fact issuable” allegedly occurred to
                allow the “Inhabitants whereof” to serve on
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 21 of 24
         20                   USA V. FORTENBERRY


                the jury. 1 E. Coke, Institutes of the Laws of
                England § 193, at 125 (1628) (Coke).
                    …
                     There is no question that the founding
                generation enthusiastically embraced the
                vicinage right and wielded it “as a political
                argument of the Revolution.” Prior to the
                Revolution, Parliament enacted measures to
                circumvent local trials before colonial juries,
                most notably by authorizing trials in England
                for both British soldiers charged with
                murdering colonists and colonists accused of
                treason. The Continental Congress and
                colonial legislatures forcefully objected to
                trials in England before loyalist juries,
                characterizing the practice as an affront to the
                existing “common law of England, and more
                especially to the great and inestimable
                privilege of being tried by . . . peers of the
                vicinage.” The Declaration of Independence
                also denounced these laws, under which, it
                said, British soldiers were “protect[ed] . . . by
                a mock Trial” and colonists were
                “transport[ed] . . . beyond the Seas to be tried
                for pretended offences.”

         Smith, 599 U.S. at 246–47 (footnotes omitted). Justice Story
         also noted that the Venue Clause operates to protect criminal
         defendants from being “dragged to a trial in some distant
         state” that bears little or no connection to a controversy and
         then “subjected to the verdict of mere strangers.” 3 J. Story,
         Commentaries on the Constitution of the United States
         § 1775, at 654 (1st ed. 1833).
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 22 of 24
                              USA V. FORTENBERRY                      21


             Relevant historical practices in perjury prosecutions
         supply useful insights in a context close to Section 1001. By
         statute and at common law, perjury prohibits material false
         statements. See Bronston v. United States, 409 U.S. 352, 357
         (1973) (“The words of the statute confine the offense to the
         witness who ‘willfully . . . states . . . any material matter
         which he does not believe to be true.’”) (quoting 18 U.S.C.
         § 1621(1)); Anonymous, 1 F. Cas. 1032, 1036 (Washington,
         Circuit Justice, C.C.D. Pa. 1084) (No. 475) (“[T]he common
         law description of perjury is, a false oath taken in some
         judicial proceeding in a matter material to the issue.”). The
         prevailing rule is “that the crime of perjury in an affidavit is
         complete the moment the oath is taken with the necessary
         intent. It is immaterial and irrelevant that the false affidavit
         is never used.” Steinberg v. United States, 14 F.2d 564, 567
         (2d Cir. 1926); see also United States v. Noveck, 273 U.S.
         202, 206 (1927) (“The crime of perjury is complete when the
         oath is taken with the necessary intent, although the false
         affidavit is never used.”); Commonwealth v. Carel, 105
         Mass. 582, 586 (1870) (“The perjury is complete when the
         oath is taken, whether the criminal effects his purpose or
         not.”).
            Sir Lloyd Kenyon, Lord Chief Justice of the King’s
         Bench, reached similar conclusions in 1797:

                The affidavit, on which the perjury is
                assigned, might have been sworn in a distant
                part of the kingdom; it might have been sent
                up by the post, and detained in the hands of
                any person here for some time; and according
                to the doctrine urged on behalf of the
                defendant, the guilt or innocence of the
                person making the affidavit in the country is
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 23 of 24
         22                   USA V. FORTENBERRY


                to depend on the circumstance of the person
                into whose hands it comes, bringing it
                forward. But surely the guilt of the party
                cannot depend on the act of another person,
                when all that he had to do has been already
                consummated. In the instance of making an
                affidavit in the country the party is not to be
                indicted here where the affidavit may happen
                to be used, but in the county where the
                offence was complete by making the false
                oath.

         R v. Crossley (1797) 101 Eng. Rep. 994, 996; 7 T.R. 315
         (KB) 318–19 (Lord Kenyon CJ).
             Consequently, history confirms what the Constitution
         commands. The founding generation had a deep and abiding
         antipathy to letting the government arbitrarily choose a
         venue in criminal prosecutions. Implying an effects-based
         test for venue in Section 1001 cases, when Congress has not
         so specified, would allow just that, in derogation of our
         historical principles. Because a Section 1001 offense is
         complete at the time the false statement is uttered, and
         because no actual effect on federal authorities is necessary
         to sustain a conviction, the location of the crime must be
         understood to be the place where the defendant makes the
         statement.
         V. Materiality Jury Instructions
             Fortenberry contends that the district court erred by
         declining to adopt his additional proposed instruction to the
         jury that “a false statement is not material merely because it
         causes the government to investigate the veracity, truth, or
         falsehood of the statement itself.” Because we hold that
Case 1:21-cr-00399-RDM Document 215-1 Filed 12/28/23 Page 24 of 24
                              USA V. FORTENBERRY                     23


         Fortenberry was tried in an improper venue, we do not reach
         this contention of instructional error.
                               CONCLUSION
             Fortenberry’s trial took place in a state where no charged
         crime was committed, and before a jury drawn from the
         vicinage of the federal agencies that investigated the
         defendant.        The Constitution does not permit this.
         Fortenberry’s convictions are reversed so that he may be
         retried, if at all, in a proper venue. See Smith, 599 U.S. 236.
         The case is remanded for further proceedings that are
         consistent with this decision.
            REVERSED.
